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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 In re:                                            §
                                                   §              Case No. 20-30968
 Watson Valve Services, Inc.                       §                 Chapter 11
                                                   §
           Debtor.                                 §


  DEBTOR’S CORRECTED MOTION TO PAY WATSON GRINDING RECEIVABLES
              COLLECTED ON WATSON GRINDING’S BEHALF

Pursuant to Local Rule 9013:

          THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
          IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
          THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
          MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
          SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
          YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
          YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
          BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF
          MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
          OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
          MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
          OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
          AND MAY DECIDE THE MOTION AT HEARING.

          REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE:

          Watson Valve Services, Inc. (“Debtor”) files this motion to pay collected receivables that

belong to the bankruptcy estate of Watson Grinding & Manufacturing Co. (“Motion”) In support

of this Motion, the Debtor respectfully states as follows:

                                     JURISDICTION AND VENUE

          1.     The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 1334 and

157(a). This action is a core-proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (E) and (O).

          2.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.


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         3.       This Court has constitutional authority to enter a final order regarding this Motion.

                               BACKGROUND AND RELIEF REQUESTED

        4.       On February 6, 2020 (“Petition Date”), the Debtor and Watson Grinding &

Manufacturing Co (“Watson Grinding”) filed voluntary petitions under chapter 11 of title 11 of

the United States Code (“Bankruptcy Code”). Both the Debtor and Watson Grinding continue to

operate their business and manage their properties as a debtor in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

        5.       On February 10, 2020, the Court authorized the formation of the January 24

Claimants Committee as a statutory committee in the Watson Grinding case (Case No. 20-30967),

pending before this Court.

        6.       On January 24, 2020, there was a tragic explosion at Watson Grinding’s facilities

located at multiple addresses on both Gessner Road (“Watson Grinding’s Facilities”) and

Steffani Lane (“Watson Valve’s Facilities”) in Houston, Texas.

        7.       Prior to the Petition Date, Watson Grinding issued the following invoices totaling

$515,494.12:

        Customer Name             Invoice Date            Invoice Number          Amount Invoiced

             Pueblo Viejo              12/18/2019                038958               $284,889.12
               Dominica
             Corporation
          Lihir Gold Limited           12/30/2019                039027               $23,530.00

              Pueblo Viejo             12/31/2019                039032               $207,075.00
               Dominica
              Corporation

        8.       After the Petition Date these Watson Grinding customers mistakenly wired these

funds to the Debtor. While the Debtor currently holds these funds in its bank account, these funds




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are not property of the Debtor’s bankruptcy estate. The Debtor therefore seeks authority to pay

Watson Grinding the funds that belong to its estate: $515,494.12.

                                                NOTICE

        9.       Notice of this Motion will be provided to (i) the Office of the United States Trustee

for the Southern District of Texas; (ii) the holders of the 20 largest unsecured claims against the

Debtor; (iii) the Internal Revenue Service; (iv) the United States Attorney’s Office for the

Southern District of Texas; (v) any other party entitled to notice pursuant to Bankruptcy Rule

2002; (vi) any other party entitled to notice pursuant to Local Rule 9013-1(d); (vii) Husch

Blackwell as counsel for Texas Capital Bank; (viii) counsel for state court litigation claimants; (ix)

all parties requesting notice in these cases; and (x) the attorney general for the State of Texas; (xi)

counsel for the January 24 Claimants Committee in the Watson Grinding case (collectively, with

the parties listed in the preceding paragraph, “Notice Parties”); and (xii) any known counsel for

any entities listed above; and (xii) all those listed on the Master Service List in this case.

                                                  PRAYER

        The Debtor prays that the Court enter an order allowing it to pay $515,494.12 and for any

other relief that the Court deems just.


        Dated: May 5, 2020

                                               Respectfully submitted,

                                               MCDOWELL HETHERINGTON LLP

                                               By: /s/ Jarrod B. Martin
                                               Jarrod B. Martin
                                               Texas Bar No. 24070221
                                               Kate H. Easterling
                                               Texas Bar No. 24053257
                                               Avi Moshenberg
                                               Texas Bar No. 24083532


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                                             1001 Fannin Street
                                             Suite 2700
                                             Houston, TX 77002
                                             P: 713-337-5580
                                             F: 713-337-8850
                                             E: Jarrod.Martin@mhllp.com
                                             E: Kate.Easterling@mhllp.com
                                             E: Avi.Moshenberg@mhllp.com

                                             COUNSEL FOR WATSON VALVE
                                             SERVICES, INC.




                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on May 5, 2020 a true and correct copy of the foregoing

Motion was served electronically on all parties registered to receive electronic notice of filings in

this case via this Court’s ECF notification system.


                                                      /s/ Jarrod B. Martin
                                                      Jarrod B. Martin




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